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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

JEDIDIAH MURPHY,                             §
             Plaintiff,                      §
                                             §        No. 1:23-CV-1170-RP-SH
                                             §        (Death Penalty Case)
                                             §
ALEXANDER JONES, et al.,                     §        Execution Set for
             Defendants.                     §        October 10, 2023

 DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
       FOR STAY OF EXECUTION WITH BRIEF IN SUPPORT

       Plaintiff Jedidiah Murphy is a Texas death row inmate who is currently

scheduled to be executed after 6:00 p.m. (CDT) on October 10, 2023. Plaintiff has filed

a civil-rights complaint asserting a denial of his rights under the due process clause

of the Sixth Amendment. See generally Pl.’s Compl. (Compl.). Defendants have

waived service and have not yet answered the complaint. Defendants’ deadline for

answering will not come until after Plaintiff’s scheduled execution. See Fed. R. Civ.

P. (a)(1)(A)(ii). Plaintiff now moves for a stay of execution so that he can litigate his

present civil rights claim. Pl.’s Mot. for Stay (Mot.). For the reasons discussed below,

Plaintiff is not entitled to a stay of execution.

                        BRIEF STATEMENT OF THE CASE

       Plaintiff does not dispute that he was properly convicted of the capital murder

of Bertie Cunningham in 2001:


       After robbing 80-year-old Bertie Cunningham at gunpoint, Jedidiah
       Isaac Murphy forced her into the trunk of her own car and shot her in
       the head. He then drove around with her body in the trunk, using her
       ATM card and credit cards to buy beer and liquor. Murphy was soon


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      arrested. He admitted to the shooting and led police to the creek where
      he had dumped Cunningham’s body. Later at the police station, he
      wrote and signed a statement claiming that he accidentally shot
      Cunningham while forcing her into her own trunk.

Murphy v. Davis, 901 F.3d 578, 583 (5th Cir. 2018).

      At punishment, the State argued that Plaintiff would be a future danger,

offering in support evidence that Plaintiff kidnapped Sheryl Wilhelm in August 1997:

             Along with this, the State tried to implicate Murphy in a three-
      year-old kidnapping case. Sheryl Wilhelm testified for the State that,
      three years before the Cunningham killing, a man briefly kidnapped her
      and then stole her car. After seeing a TV news report on Cunningham’s
      murder featuring Murphy’s photo, Wilhelm called the police to report
      Murphy as her kidnapper. She identified Murphy during a pretrial
      hearing and then again at trial. Wilhelm also testified at trial that she
      identified Murphy in a police-constructed photo lineup. The detective
      who conducted the photo lineup testified that Wilhelm’s “was one of the
      better photo” identifications he ever had. According to the detective,
      Wilhelm said “she was virtually sure that that was the guy who
      abducted her.”

             Murphy attacked Wilhelm’s identification in a few ways. He
      called a psychologist who testified that Wilhelm’s memory was tainted
      by the photo of Murphy she saw on the news. The psychologist also
      pointed out prominent differences between a composite sketch, made
      just a week after the kidnapping, and the press-released photo of
      Murphy. And the psychologist added that the photo lineup was unfairly
      constructed; obvious differences between the mugshots reduced the odds
      of selection from one-in-six to one-in-three. Murphy also put on an alibi
      defense. Wilhelm said she had been kidnapped, escaped, and had her
      car stolen at 11:30 a.m. in Arlington, Texas. The day after her
      kidnapping, Wilhelm’s car was found in Wichita Falls, Texas. In the car,
      the police found documents belonging to another woman [named
      Marjorie Ellis]. That woman had been assaulted and had her purse
      stolen in Wichita Falls at 8:24 p.m. on the day of Wilhelm’s kidnapping.
      Also on the same day, Murphy clocked in for his night shift at 11:54 p.m.
      in Terrell, Texas. Murphy’s counsel argued that Murphy did not have


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      time to kidnap Wilhelm in Arlington, rob the other woman in Wichita
      Falls, and make it to work in Terrell.

Id. at 583–84. The jury found a reasonable probability that Plaintiff would be a future

danger.

      Plaintiff still maintains that he never committed the Wilhelm kidnapping. In

March 24, 2023, Plaintiff moved for touch DNA testing of physical property belonging

to Ellis, which was recovered from Wilhelm’s car in Wichita Falls the next day.

Murphy v. State, No. AP-77,112, 2023 WL 6241994, at *5. (Tex. Crim. App. Sep. 26,

2023); see also Tex. Code Crim. Proc. art. 64.03 (statute permitting DNA testing). The

trial court denied testing on the grounds that Chapter 64 of the Texas Code of

Criminal Procedure does not permit testing of evidence that only relates to the

punishment phase of trial. Murphy, 2023 WL 6241994, at *3. It held alternatively

that Plaintiff also failed to meet the requirements of article 64.03 because Plaintiff

failed to show “that his motion is not filed for purposes of delaying execution of

sentence or the administration of justice.” Id.; see also Tex. Code Crim. Proc. art.

64.03(a)(2)(B). The Texas Court of Criminal Appeals (CCA) affirmed the judgment of

the trial court, finding that both grounds for denial were not error. Murphy, 2023 WL

6241994, at *3–4.

      Plaintiff has now filed a lawsuit under 42 U.S.C. § 1983 claiming that the

CCA’s interpretation of Chapter 64—that Chapter 64 DNA testing does not extend to

punishment-related evidence—violates the Due Process Clause, his right to

clemency, his right to access of courts, and his statutory right to counsel under 18

U.S.C. § 3599. See generally Compl. Plaintiff now moves for a stay of execution to


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resolve this pending lawsuit. See Mot. Defendant, the district attorney pro tem,

opposes.

                                    ARGUMENT

      After two decades of litigation, Plaintiff only moved for DNA testing once the

trial court ordered a hearing on the State’s motion to set an execution date. The trial

court denied the motion for testing, and the CCA affirmed on two grounds:

(1) Chapter 64 does not permit testing of punishment-related evidence and (2)

Plaintiff failed to show his testing motion was not filed for the purpose of

unreasonably delaying his sentence. It is undisputed that the merits of this lawsuit

could never vitiate the latter ground for denying testing. Thus, Plaintiff will never be

afforded the DNA testing he seeks even if his lawsuit is meritorious. Staying

execution after two decades to wait on the outcome of an immaterial and purposefully

dilatory lawsuit runs counter to the equitable principles at play here.

I.    Standard of review

      “Filing an action that can proceed under § 1983 does not entitle the [plaintiff]

to an order staying an execution as a matter of course.” Hill v. McDonough, 547 U.S.

573, 584 (2006). Rather, a “stay of execution is an equitable remedy and “equity must

be sensitive to the State’s strong interest in enforcing its criminal judgments without

undue interference from federal courts.” Id. When the requested relief is a stay of

execution, a court must consider:

      (1) whether the stay applicant has made a strong showing that he is
      likely to succeed on the merits; (2) whether the applicant will be
      irreparably injured absent a stay; (3) whether issuance of the stay will




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      substantially injure the other parties interested in the proceeding; and
      (4) where the public interest lies.

Nken v. Holder, 556 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770,

776 (1987)); see also Battaglia v. Stephens, 824 F.3d 470, 473 (5th Cir. 2016) (applying

Nken factors in context of request for stay of execution).

II.   A Brief Overview of Plaintiff’s Lawsuit

      Plaintiff argues that Chapter 64 of the Texas Code of Criminal Procedure,

which affords court-ordered DNA testing in limited circumstances, violates due

process, his right to clemency, his access to courts, and his statutory right to

postconviction counsel under 18 U.S.C. § 3599. Complaint at 7–11.

      Article 64.03 only affords DNA testing where exculpatory results might

undermine confidence in a conviction. Tex. Code Crim. Proc. art. 64.03. The CCA has

interpreted this language to mean that “[t]he statute does not authorize testing when

exculpatory testing results might affect only the punishment or sentence that he

received.” Ex parte Gutierrez, 337 S.W.3d 883, 901 (Tex. Crim. App. 2011) (emphasis

added). Moreover, under Texas law, a capital inmate can challenge his sentence

through a subsequent application by showing that, but for a constitutional violation,

no rational juror would have found a probability that he would be a future danger. 1

Tex. Code Crim. Proc. art. 11.071 §5(a)(3).

      Plaintiff argues that this right to challenge his sentence through a subsequent

application is violated by the Gutierrez rule. He claims that, based on the CCA’s


1      Before imposition of a death sentence, a Texas jury is required to find “there is
a probability that the defendant would commit criminal acts of violence that would
constitute a continuing threat to society.” Id. art. 37.071 § 2(b)(1).

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interpretation that Chapter 64 does not apply to punishment-related evidence, that

Chapter is “inadequate to vindicate” his right to meet his burden under § 5(a)(3).

Compl. at 10. He also argues that this interpretation of the statute violates his right

to clemency, right to access of courts, and right to statutory counsel under § 3599.

Compl. at 10–12.

III.   Plaintiff Cannot Make a Strong Showing that He Is Likely to Succeed
       on the Merits of His Claims.

       At the outset, all four grounds presented by Plaintiff lack merit. Turning first

to his procedural due process ground, Plaintiff cannot show that the Texas statute on

its face violates due process. The Supreme Court recognized a procedural due process

right to DNA testing statutes enacted by the states. District Attorney’s Office for the

Third Judicial District v. Osborne, 557 U.S. 52, 68 (2009). But the Court has stressed

just how narrow this right is: “Osborne severely limits the federal action a state

prisoner may bring for DNA testing [and] “left slim room for the prisoner to show that

the governing state law denies him procedural due process.” Cromartie v. Shealy, 941

F.3d 1244, 1252 (11th Cir. 2019) (quoting Skinner v. Switzer, 562 U.S. 521, 525

(2011)). In fact, “every court of appeals to have applied the Osborne test to a state's

procedure for postconviction DNA testing has upheld the constitutionality of it.” Id.

       Moreover, Plaintiff raises a facial challenge to the statute. Compl. at 8. “A

facial challenge to a legislative Act is, of course, the most difficult challenge to mount

successfully, since the challenger must establish that no set of circumstances exists

under which the Act would be valid.” United States v. Salerno, 481 U.S. 739, 745

(1987). Plaintiff cannot make this showing, as applicants may certainly avail



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themselves of their rights under § 5(a)(3) without DNA testing. 2 See Ex parte Blue,

230 S.W.3d 151, 162-63 (Tex. Crim. App. 2007) (holding § 5(a)(3) does not require

clear and convincing evidence at the threshold that no rational factfinder would

answer at least one of the special issues in the State’s favor; instead, only a threshold

presentation of facts that, if true, would be sufficient to show innocence of the death

penalty is required to be allowed to be proceed to the merits). In fact, Plaintiff is

currently doing so in a contemporaneously filed subsequent habeas application

challenging his death sentence under § 5(a)(3). Ex parte Murphy, No. WR-70,832-05

(Tex. Crim. App.) (filed Sept. 27, 2023). Therein, Plaintiff raises ineffective assistance

of trial counsel, false testimony, suppression of exculpatory evidence, and Eighth

Amendment claims under § 5(a)(3). Thus, Plaintiff’s facial challenge fails. 3

      Plaintiff also argues that denying him DNA testing on punishment-related

evidence violates his right to seek executive clemency. Compl. at 10–11. But “pardon

and commutation decisions are not traditionally the business of courts.” Faulder v.




2      In 2021, a sister district court issued a declaratory judgment that Chapter 64
was unconstitutional for the reasons Plaintiff argues here. Gutierrez v. Saenz, Civ.
No. 1:19-cv-15, 565 F. Supp.3d 892, 911 (S.D. Tex. Mar. 23, 2021). That decision is
pending on appeal. Gutierrez v. Saenz, No. 21-70009 (5th Cir.). Moreover, the district
court’s opinion is not binding on this Court.

3      Plaintiff may not argue that the statute operates unconstitutionally as applied
to him, as that would violate the Rooker/Feldman doctrine. “That doctrine prohibits
federal courts from adjudicating cases brought by state-court losing parties
challenging state-court judgments.” Reed v. Goertz, 598 U.S. 230, 235 (2023) (citing
Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923) and District of Columbia Court of
Appeals v. Feldman, 460 U.S. 462 (1983)). For this Court to have original jurisdiction
over this matter, Plaintiff must be targeting only the Texas statute, not the CCA’s
decision itself. Id.

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Texas Bd. of Pardons & Paroles, 178 F.3d 343, 344 (5th Cir. 1999). Thus, while there

may be some minimal due process rights afforded such a proceeding, judicial

intervention into such a proceeding is exceptionally rare. See Roach v. Quarterman,

220 F. App’x 270, 275 (5th Cir. 2007) (denying a certificate of appealability where

petitioner failed to provide evidence that he was denied access to the clemency process

or that a clemency decision would be made arbitrarily).

      Unsurprisingly, Plaintiff cannot point to any case in which the denial of DNA

testing violated an inmate’s due process right to present a clemency claim. To the

contrary other courts have denied similar claims. Cromartie, 941 F.3d at 1258

(denying claim that denying an inmate DNA testing restricted his right to present

evidence in support of executive clemency); Noel v. Norris, 336 F.3d 648, 649 (8th Cir.

2003) (per curiam) (finding that, where the state would not let a capital inmate

undergo a brain scan procedure in support of a brain-damage-clemency claim, “we

cannot say that the process was so arbitrary as to be unconstitutional or that the

state prohibited Mr. Noel from using the procedure that it had established”); see also

Osborne, 557 U.S. at 74 (“If we extended substantive due process to this area, we

would cast these statutes into constitutional doubt and be forced to take over the

issue of DNA access ourselves. We are reluctant to enlist the Federal Judiciary in

creating a new constitutional code of rules for handling DNA.”).

      In his third claim, Plaintiff argues the denial of DNA testing denies his “right

of access to courts. Compl. at 11–12. But while a state inmate has a “right of access

to the courts,” that right does not encompass the ability “to discover grievances, and




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to litigate effectively once in court.” Lewis v. Casey, 518 U.S. 343, 350, 354 (1996)

(emphasis removed from initial quotation). “One is not entitled to access to the courts

merely to argue that there might be some remote possibility of some constitutional

violation.” Whitaker v. Collier, 862 F.3d 490, 501 (5th Cir. 2017) (quoting Whitaker v.

Livingston, 732 F.3d 465, 467 (5th Cir. 2013)). Thus, Plaintiff’s claim that DNA

testing could allow him to discover a speculative and hypothetical claim in the future

necessarily fails to state a claim for relief. Alvarez v. Attorney General for Fla., 679

F.3d 1257, 1265–66 (11th Cir. 2012) (finding access to courts was not violated by

denial of postconviction DNA testing). It must therefore be dismissed.

      Finally, Plaintiff argues that he has a right under 18 U.S.C. § 3599 for § 3599

counsel to pursue a clemency application and stays of execution. Compl. at 12. He

contends that the denial of DNA testing violates that right. Id. But several circuits,

including this one, “are in uniform agreement that section 3599’s authorization for

funding does not imply an additional grant of jurisdiction to directly oversee the

provision of counsel and related services.” Beatty v. Lumpkin, 52 F.4th 632, 637 (5th

Cir. 2022); accord Baze v. Parker, 632 F.3d 338, 342–45 (6th Cir. 2011) (holding that

§ 3599 did not authorize a federal court to compel third-party compliance with § 3599

counsel’s investigators so that they could gather evidence for state clemency

proceedings); Leavitt v. Arave, 682 F.3d 1138, 1141 (9th Cir. 2012) (denying a request

for a federal court to order blood testing under § 3599 for purposes of a clemency




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petition). Simply put, § 3599 only authorizes funding; it does not give an inmate any

rights to pursue certain claims that would be stymied by the denial of DNA testing. 4

      For these reasons, Plaintiff cannot show a strong likelihood of success on the

merits.

IV.   Plaintiff Will Not Suffer Irreparable Harm.

      To warrant a stay, Plaintiff must show a “likelihood that irreparable harm will

result if that decision is not stayed.” Barefoot v. Estelle, 463 U.S. 880, 895 (1983).

Plaintiff argues that he will suffer irreparable injury because he will not be able to

litigate his § 1983 claim. Mot. at 2. But even if Plaintiff wins his lawsuit he will still

ultimately be denied DNA testing because the CCA’s judgment will stand on the

unchallenged ground that Plaintiff’s DNA motion was filed for the purpose of delay.

Moreover, even if Plaintiff were to obtain DNA results, he would not be able to meet

his burden under § 5(a)(3).

      A.     Plaintiff cannot show that the relief he seeks would lead to
             access to DNA testing.

      Plaintiff asks for two forms of relief: (1) a declaratory judgment that Texas’s

interpretation of Chapter 64 as not extending to punishment-related evidence (the

Gutierrez Rule) and Defendants’ enforcement of that interpretation violates



4      And even if § 3599 did create such a procedural right to file certain claims, that
right would not extend to a state-court motion for postconviction DNA testing. See
Gary v. Warden, Georgia Diagnostic Prison, 686 F.3d 1261, 1275 (11th Cir. 2012)
(denying funds for DNA expert to assist petitioner in moving the state court for DNA
testing because DNA testing is not a subsequent proceeding contemplated by § 3599);
Crutsinger v. Davis, No. 4:07-cv-00703, 2017 WL 2418635, at *3–4 (N.D. Tex. Jun. 5,
2017) (“The Court concludes . . . that § 3599(a)(2) and (e) do not contemplate the
provision of federal counsel in post-petition DNA proceedings.”).

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procedural due process and (2) injunctive relief enjoining Defendants from opposing

requests for DNA testing and declining to produce physical evidence for testing by

relying on the Gutierrez Rule. Compl. at 13. 5

      As an initial matter, even if this Court issued this type of relief, it is unclear if

that would entitle Plaintiff to the DNA testing he seeks. Plaintiff is prevented from

obtaining DNA testing related to the Wilhelm/Ellis crimes by the trial court’s

judgment denying testing, as affirmed by the CCA. See Reed, 598 U.S. at 249

(Thomas, J., dissenting) (“[A]ny due process injury that Chapter 64 has caused Reed

is traceable to the CCA’s judicial application of that law in his case, not to any

executive acts or omissions of the district attorney.”). If this Court grants Plaintiff his

requested relief—declaratory judgment and injunction against the district attorney

and Arlington Police Chief—the CCA’s judgment affirming the denial of DNA testing

“would remain untouched.” Id. (Thomas, J., dissenting). 6



5      It is unclear if this Court even has the authority to issue injunctive relief
against Defendants to not oppose his request for DNA testing and not decline to
produce physical evidence for testing. See Ramirez v. McCraw, 715 F. App’x 347, 350
(5th Cir. 2017) (finding the district court “accurately analyzed” the plaintiff’s request
for “an injunction requiring the defendants to release the biological material on which
he asks for DNA testing” as tantamount to an impermissible writ of mandamus); see
also Reed, 598 U.S. at 249–50 (Thomas, J., dissenting) (noting that the majority fails
to explain “what change in conduct would be legally required of” the district attorney
if a DNA litigant prevailed in a § 1983 lawsuit).

6      Obviously, the majority in Reed rejected Justice Thomas’s argument to the
extent that it applied to Article III standing. Reed, 598 U.S. at 234. But it still did not
articulate just what form actual declaratory and injunctive relief would take where
the state-court judgment denying relief remains undisturbed. See id. at 249–50
(Thomas, J., dissenting) (“But the district attorney has made clear that he does not
understand Reed’s requested relief to ‘require any change in conduct’ from him and
that it is not ‘likely to bring about such change.’ Brief for Respondent 38–39. If the

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      But, even if Plaintiff could somehow disturb the state-court’s judgment

through his lawsuit, 7 he would still not be entitled to testing. In such an event, the

state-court judgment would still stand on a ground independent of the merits of this

lawsuit—the CCA’s finding that Plaintiff failed to show his motion was not made for

the purposes of unreasonable delay. Murphy, 2023 WL 6241994, at *5. And for the

same reason, even assuming Plaintiff could obtain the relief he seeks—that

Defendants not apply the Gutierrez Rule to deny him access to DNA testing—

Defendants would still be free to apply Chapter 64’s unreasonable delay prong

against him. Tex. Code Crim. Proc. art. 64.03(a)(1)(B) (requiring movants to show

that their request for DNA testing is “not made to unreasonable delay the execution

of sentence or administration of justice”).




majority thinks the district attorney is wrong about that, it would only be fair to
explain exactly what change in conduct would be legally required of him if Reed
prevailed on his due process claim. The majority fails to do so.”). For purposes of
showing injury as a practical matter, and not just a theoretical exercise, it is unclear
how Plaintiff would obtain DNA testing if he prevails.

7      It seems beyond dispute that this Court cannot disturb the CCA’s Chapter 64
judgment, as it has no appellate jurisdiction to do so. See Reed, 598 U.S. at 249
(Thomas, J., dissenting) (“Suppose that the District Court accepted Reed’s due
process arguments and issued his requested relief: an abstract declaration that the
interpretation of Chapter 64 that the CCA applied in his case is unconstitutional.
How, exactly, would that redress Reed’s injury of not having the evidence tested? The
CCA’s Chapter 64 judgment would remain untouched; Reed would have obtained an
opinion disapproving its reasoning, but without any appellate ‘revis[ion] and
correct[ion]’ to disturb its finality.”). Rather, Plaintiff’s remedy to challenge this
judgment would have to be made through a petition for writ of certiorari to the United
States Supreme Court. 28 U.S.C. § 1257.

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      Thus, even if Plaintiff wins this lawsuit, he will not be entitled to DNA testing

under state law. Depriving him of such a hollow “victory” cannot be called injury, in

any sense.

      B.     Plaintiff cannot show DNA testing would show is innocent of the
             Wilhelm kidnapping.

      Plaintiff claims that he is being denied a procedural due process right to meet

his subsequent-application burden under § 5(a)(3), which he would prove through his

innocence of the Wilhelm kidnapping. Compl. at 9–11. The Fifth Circuit has

previously held that, where DNA results would not lead to relief, a pending § 1983

claim attacking a DNA-testing statute is not ground for a stay of execution. Gutierrez

v. Saenz, 818 F. App’x 309, 312–13 (5th Cir. 2020), vacated on other grounds by

Gutierrez v. Saenz, 131 S. Ct. 1260, 1261 (2021). 8

      It is unclear what Plaintiff’s exculpatory theory is. He obliquely suggests that

“biological evidence from the true perpetrator—at a minimum ‘touch DNA’—would

have been left on the property.” Compl at 6. But the presence of another’s DNA on

the items would not be exculpatory, given the “ubiquity” of touch DNA. Reed v. State,

541 S.W.3d 759, 771 (Tex. Crim. App. 2017). DNA from the victims or innocent third

parties is just as likely to be present, and Plaintiff offers no rationale with which to

distinguish it from any “true” perpetrator. Moreover, Applicant fails to explain how

the lack of his touch-DNA being on the property would be exculpatory. Many



8     In Gutierrez, the Supreme Court explicitly vacated the order of the Fifth
Circuit and remanded for consideration of Gutierrez’s spiritual advisor claims, not
his DNA-testing challenge. Gutierrez, 141 S. Ct. at 1261.



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perpetrators wear gloves or wipe down items in an effort to avoid detection. The

implication of his argument—that if he were the perpetrator his touch DNA must be

found on this property—is conclusory.

      C.     Plaintiff cannot show that, even if he could disprove that he
             committed the Wilhelm Kidnapping, he could show he could
             meet his burden under article § 5(a)(3).

      Even if Plaintiff could obtain DNA evidence showing he did not commit the

Wilhelm kidnapping, such evidence still would not meet the § 5(a)(3) standard. First,

this Circuit has intimated that § 5(a)(3) only permits claims that one is “ineligible for

the death penalty” such as those who are intellectually disabled or were under

eighteen years old at the time of the capital offense. Rocha v. Thaler, 626 F.3d 815,

826–27 (5th Cir. 2010). In Rocha, the Fifth Circuit explained that, for this reason, a

claim premised on the mitigating evidence the jury did not hear due to trial counsel’s

ineffectiveness did not amount to a gateway claim under § 5(a)(3). Id. Similarly, the

future-dangerousness finding is a matter of jury discretion, not categorical eligibility

for the death penalty. Tex. Code Crim. Proc. art. 37.071 § 2(b)(1); see also Lowenfield

v. Phelps, 484 U.S. 231, 245 (1988) (explaining that the future danger special issue

allows “the jury to consider the mitigating aspects of the crime and the unique

characteristics of the perpetrator, and therefore sufficiently provided for jury

discretion.”). Thus, a claim premised on attacking an extraneous offense presented in

support of the future-dangerousness special issue would not meet the requirements

of § 5(a)(3) under this Circuit’s precedent, regardless of the existence or nonexistence

of DNA evidence.




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      But even assuming that a claim rebutting an extraneous offense could

theoretically meet the requirements of § 5(a)(3), Plaintiff could not do so solely by

rebutting the Wilhelm kidnapping. The Fifth Circuit summarized the aggravating

evidence against Plaintiff at trial:

      In particular, the severity of Murphy’s history of violence was a point of
      contention. To demonstrate he had such a history, the State
      submitted Murphy’s record of theft convictions. A responding officer
      also testified for the State about a domestic-abuse call
      involving Murphy and his girlfriend. The officer said that when he
      entered Murphy’s home, the girlfriend had a bloody nose
      and Murphy had a knife. The officer subdued Murphy with pepper
      spray. Another State witness said that Murphy pulled a gun on her at a
      high school party. He put the gun to her head, asked if she was afraid to
      die, and held it there for a minute. One of Murphy’s coworkers also
      testified for the State. She claimed that Murphy talked about having
      access to guns, bragged about shooting people, and threatened to “knock
      [her] fucking head off.” The woman was so frightened that she quit her
      job and reported Murphy to the police.

Murphy, 901 F.3d at 583. Moreover, Applicant’s results on the Minnesota Multiphasic

Personality Inventory-II     (MMPI-2) test,      presented in mitigation, revealed

aggravating evidence of future danger as well:


      The State proceeded to read off some of the MMPI-2 interpretative
      report’s unfavorable hypotheses, referring to them as Dr. Butcher’s
      “statements.” Per the State, Dr. Butcher stated that Murphy
      exaggerated his symptoms and responded to the last section of the
      MMPI-2 “either carelessly, randomly, or deceitfully, thereby
      invalidating that portion of the test.” The State continued, reading off
      that Murphy “has serious problems controlling his impulses and
      temper,” “loses control easily,” and may be “assaultive.” Murphy,
      according to the parts read aloud, “manipulates people” and lacks
      “genuine interpersonal warmth.” According to the report, Murphy
      matches the profile of a Megargee Type H offender, a seriously disturbed



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      inmate type. Inmates with Murphy’s profile will, per the report, “not
      seek psychological treatment on their own” and are “poor candidates for
      psychotherapy.”

Id. at 585. And, of course, Applicant’s senseless and callous murder of defenseless

eighty-year-old Bertie Cunningham was the most aggravating evidence of all. Id. at

583. Under Texas law, the facts of the crime alone can be enough to “support an

affirmative finding to the future dangerousness special issue.” Guevara v. State, 97

S.W.3d 579, 581 (Tex. Crim. App. 2003).

      Thus, even if Plaintiff could get DNA testing, and even if that testing rebutted

the Wilhelm kidnapping, it would still come up short of showing, by clear and

convincing evidence, that no rational juror could have ever found a probability that

Plaintiff would be a future danger. See Tex. Code Crim. Proc. art. 11.071 § 5(a)(3). In

resolving a claim related to the Wilhelm kidnapping, the Fifth Circuit suggested that,

even if Plaintiff could rebut the Wilhelm kidnapping, he could still not even show a

reasonable probability that his sentence would have changed. See Murphy, 901 F.3d

at 598 (“Finally, as we detailed on Murphy’s ineffectiveness claim, the State put on

significant other evidence to show Murphy’s future dangerousness besides the

Wilhelm kidnapping.”). It therefore follows that rebutting the offense would fall far

short of the much higher standard under § 5(a)(3).

      Thus, Plaintiff cannot show (1) that winning his lawsuit will lead to the DNA

testing he seeks, (2) that DNA results would be exculpatory, and (3) that exculpatory

results would ever permit him to avail himself of Texas’s § 5(a)(3) exception to the

abuse-of-the-writ bar. Thus, he cannot show injury if his execution is not stayed.




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V.    The State and the Public Have a Strong Interest in Seeing the State
      Court Judgment Carried Out.

      The State and crime victims have a “powerful and legitimate interest in

punishing the guilty.” Calderon v. Thompson, 523 U.S. 538, 556 (1998) (citation

omitted). And “[b]oth the State and the victims of crime have an important interest

in the timely enforcement of a [death] sentence.” Bucklew v. Precythe, 139 S. Ct. 1112,

1133 (2019) (quotation omitted); see Nelson v. Campbell, 541 U.S. 637, 648 (2004) (“a

State retains a significant interest in meting out a sentence of death in a timely

fashion”); Gomez v. United States Dist. Court, 503 U.S. 653, 654 (1992) (per curiam)

(“[e]quity must take into consideration the State’s strong interest in proceeding with

its judgment”). Once post-conviction proceedings “have run their course . . . finality

acquires an added moral dimension. Only with an assurance of real finality can the

State execute its moral judgment in a case. Only with real finality can the victims of

crime move forward knowing the moral judgment will be carried out.” Calderon, 523

U.S. at 556.

      Here, the public’s interest lies in executing sentences duly assessed. For over

two decades, Plaintiff has passed through the state and federal collateral review

process. The public’s interest is not advanced by postponing Plaintiff’s execution any

further, and the State opposes any action that would cause further delay. Martel v.

Clair, 565 U.S. 648, 662 (2012) (“Protecting against abusive delay is an interest of

justice.”) (emphasis in original). Two decades after Plaintiff murdered Bertie

Cunningham, justice should no longer be denied. See United States v. Vialva, 976

F.3d 458, 462 (5th Cir. 2020).



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      Moreover, it is no surprise that “capital petitioners might deliberately engage

in dilatory tactics to prolong their incarceration and avoid execution of a sentence of

death.” Rhines v. Weber, 544 U.S. 269, 277–78 (2005). So, also unsurprisingly, “last-

minute claims arising from long-known facts, and other ‘attempt[s] at manipulation’

can provide a sound basis for denying equitable relief in capital cases.” Ramirez v.

Collier, 595 U.S. 411, 434 (2022) (quoting Gomez, 503 U.S. at 654). In fact, a “court

considering a stay must also apply ‘a strong equitable presumption against the grant

of a stay where a claim could have been brought at such a time as to allow

consideration of the merits without requiring entry of a stay.’” Hill, 547 U.S. at 584

(quoting Nelson, 541 U.S. at 650).

      This presumption applies with full force here. Plaintiff has denied the Wilhelm

kidnapping since trial. Murphy, 901 F.3d at 583–84. Moreover, “Chapter 64,

authorizing motions for DNA testing, has been in effect since April 2001.” Murphy,

2023 WL 6241994, at *5 (citing Thacker, 177 S.W.3d 926, 927 (Tex. Crim. App. 2005)).

Yet, Plaintiff did not move for DNA testing until March 2023, after the trial court set

a hearing on the State’s motion to set an execution date. Id. And then he did not file

his federal lawsuit in this court until September 27, 2023, less than two weeks from

his execution. See generally Compl.

      As such, this lawsuit—belatedly filed less than two weeks before the

execution—is precisely the sort of “dilatory tactic” that presumptively weighs against

the issuance of a stay.




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                                    CONCLUSION

     For these reasons, Plaintiff’s request for a stay should be denied.

                                         Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I do herby certify that on October 4, 2023, I electronically filed the foregoing
document with the Clerk of the Court for the U.S. District Court, Western District of
Texas, using the electronic case-filing system of the Court. The electronic case-filing
system sent a “Notice of Electronic Filing” (NEF) to the following counsel of record,
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